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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION
                      _____________________________________

AMERICA FIRST POLICY INSTITUTE,

       Plaintiff,

v.                                               Civil Action No. 4:23-CV-01039-P

U.S. DEPARTMENT OF HOMELAND
SECURITY,

       Defendant.

           DEFENDANT’S CERTIFICATE OF INTERESTED PERSONS

       This is to certify that other than the parties to this case, the undersigned is currently

unaware of any person, organization, or other legal entity with a financial interest in the

outcome of this case.


       Dated: December 18, 2023                    Respectfully submitted,

                                                   LEIGHA SIMONTON
                                                   UNITED STATES ATTORNEY

                                                   /s/ Andrea Haim
                                                   Andrea Haim
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                                                   Attorneys for The U.S. Department of
                                                   Homeland Security
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                             CERTIFICATE OF SERVICE

       On December 18, 2023, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all counsel and/or pro se

parties of record electronically or by another manner authorized by Federal Rule of Civil

Procedure 5(b)(2).

                                           /s/ Andrea Haim___
                                           Andrea Haim
                                           Assistant United States Attorney




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